          Case 2:19-cv-01293-APG-VCF Document 41 Filed 08/17/20 Page 1 of 4



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                        UNITED STATES DISTRICT COURT
                             DISTRICT OF NEVADA

    BLAKE and JENNA                                  Case Number
    MILLER, Individually and on                 2:19-cv-01293-APG-VCF
    Behalf of C.M., a Minor Child,

                  Plaintiffs                   STIPULATION AND
                                               ORDER TO AMEND
    v.
                                              DISCOVERY PLAN &
    UNITED STATES OF                         EXTEND DEADLINES
    AMERICA,
                                                       (Third Request)

                  Defendant




1        Under Local Rule 26-4 and IA 6-1, Plaintiffs and Defendant submit the follow-

2   ing Stipulation to Extend Certain Deadlines by 30 days. This is the third request.

3


4        A. Discovery Completed



                                         Page 1 of 4
          Case 2:19-cv-01293-APG-VCF Document 41 Filed 08/17/20 Page 2 of 4



 1      1. The Parties have exchanged Rule 26(a) disclosures and multiple sup-

 2         plements.

 3      2. The Parties have served and responded to written discovery (Request

 4         for Production, Interrogatories, and Request for Admissions).

 5      3. The United States has subpoenaed and received Plaintiffs’ medical rec-

 6         ords from all known providers.

 7      4. The United States has completed its medical examination of the in-

 8         jured minor child, C.M.

 9      5. Plaintiffs completed the depositions of three treating healthcare pro-

10         viders.

11      B. Need for Discovery Extension


12       The retained expert designation is currently set for August 17, 2020. The Par-

13   ties are jointly requesting a thirty-day extension to the expert discovery deadline to

14   September 17, 2020 which in turn will require a thirty extension for the remain-

15   ing deadlines.

16       The Parties believe good cause exists for the following reasons: Due to the

17   COVID-19 pandemic, the parties could not schedule the remote depositions of three

18   key treating healthcare providers until July 28, August 7, and August 13, 2020, re-

19   spectively. All three were former United States employees and involved in the care

20   that forms the basis of the suit. But they have since departed the United States’ em-

21   ploy, live in three different states, and coordination of their remote depositions




                                            Page 2 of 4
          Case 2:19-cv-01293-APG-VCF Document 41 Filed 08/17/20 Page 3 of 4



 1   along with technology logistics required some time to schedule and complete. Coun-

 2   sel for Plaintiffs and Defendant were diligent in navigating these difficulties in or-

 3   der to schedule and complete these depositions as soon as practicable.

 4       Because the depositions were just completed (August 13th), the Parties have not

 5   received the transcripts to provide their experts for review. The experts for both

 6   Parties will then need time to review the transcripts prior to submission of their re-

 7   ports.

 8       The Parties agree that a thirty-day extension of the current expert deadline

 9   should provide sufficient time for the experts to review the recently completed depo-

10   sitions and provide their reports.


11      C. Proposed New Discovery Schedule

12      1. Discovery Cutoff date: The current date is October 27, 2020 and will

13            be extended to November 27, 2020.

14      2. Interim Status Report: The interim status report currently sched-

15            uled for August 17, 2020, will be continue to September 27, 2020,

16            which is 60 days prior to the discovery cutoff.

17      3. Expert Disclosures: Expert disclosures currently due August 17,

18            2020, will be continued to September 17, 2020. Rebuttal expert dis-

19            closures currently due September 17, 2020 will be continued to Octo-

20            ber 19, 2020.




                                              Page 3 of 4
       Case 2:19-cv-01293-APG-VCF Document 41 Filed 08/17/20 Page 4 of 4



 1   4. Dispositive Motions: Dispositive motions currently due November

 2      16, 2020, will be continued to December 17, 2020, three weeks follow-

 3      ing the discovery cutoff.

 4   5. Pretrial Order: A Joint Pretrial Order shall be filed by January 18,

 5      2021, which is 30 days following the dispositive motion deadline. How-

 6      ever, if any dispositive motions are filed, the the Joint Pretrial Order

 7      shall be due thirty days after decision on such motion(s). Disclosures

 8      under Fed R. Civ. P. 26(a)(3) and any objections to them shall be in-

 9      cluded in the Joint Pretrial Order.


10   Respectfully submitted this 17th day of August 2020.

11   Whitehurst, Harkness, Brees, Cheng,         NICHOLAS A. TRUTANICH
12   Alsaffar, Higginbotham, & Jacob, PLLC       United States Attorney
13
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21

22                                  IT IS SO ORDERED:

23
24                                  __________________________________________
25                                  UNITED STATES MAGISTRATE JUDGE
26
27                                          8-17-2020
28                                  DATED: _________________________________

                                        Page 4 of 4
